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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )
                         Plaintiff,         )                  CRIMINAL ACTION
                                            )                  No. 08-20160-08-KHV
v.                                          )
                                            )                  CIVIL ACTION
FRANCISCO PEREA,                            )                  No. 11-2218-KHV
                                            )
                         Defendant.         )
____________________________________________)

                              MEMORANDUM AND ORDER

       On December 15, 2009, defendant pled guilty to conspiracy to distribute and possess with

intent to distribute 50 grams or more of methamphetamine. On April 20, 2010, the Court sentenced

defendant to 292 months in prison. This matter is before the Court on defendant’s Motion Under

28 U.S.C. § 2255 To Vacate, Set Aside, Or Correct Sentence By A Person In Federal Custody (Doc.

#349) filed April 14, 2011. On March 8, 2012, except for defendant’s claims related to counsel’s

failure to file an appeal or consult defendant about a possible appeal, the Court found that

defendant’s claims should be overruled. See Memorandum And Order (Doc. #382). The Court

referred defendant’s remaining two claims to U.S. Magistrate Judge James P. O’Hara for a report

and recommendation. On August 13, 2012, Judge O’Hara recommended that the Court overrule

defendant’s remaining two claims. See Report And Recommendation (Doc. #393). The deadline

for written objections to the report and recommendation was August 27, 2012. See Rule 72, Fed.

R. Civ. P.   The parties have not objected.      The Court therefore adopts the Report And

Recommendation (Doc. #393) in its entirety.
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                                    Certificate Of Appealability

       Under Rule 11 of the Rules Governing Section 2255 Proceedings, the Court must issue or

deny a certificate of appealability when it enters a final order adverse to the applicant. A certificate

of appealability may issue only if the applicant has made a substantial showing of the denial of a

constitutional right. 28 U.S.C. § 2253(c)(2).1 To satisfy this standard, the movant must demonstrate

that “reasonable jurists would find the district court’s assessment of the constitutional claims

debatable or wrong.” Saiz v. Ortiz, 392 F.3d 1166, 1171 n.3 (10th Cir. 2004) (quoting Tennard v.

Dretke, 542 U.S. 274, 282 (2004)). For reasons stated in the Court’s Memorandum And Order (Doc.

#382) and Judge O’Hara’s Report And Recommendation (Doc. #393), the Court finds that defendant

has not made a substantial showing of the denial of a constitutional right. Accordingly, the Court

denies a certificate of appealability.

       IT IS THEREFORE ORDERED that defendant’s Motion Under 28 U.S.C. § 2255 To

Vacate, Set Aside, Or Correct Sentence By A Person In Federal Custody (Doc. #349) filed April 14,

2011 be and hereby is OVERRULED.

       IT IS FURTHER ORDERED that a certificate of appealability is DENIED as to the

Court’s ruling on defendant’s motion under 28 U.S.C. § 2255.

       Dated this 4th day of September, 2012 at Kansas City, Kansas.

                                                s/ Kathryn H. Vratil
                                                KATHRYN H. VRATIL
                                                United States District Judge




       1
                 The denial of a Section 2255 motion is not appealable unless a circuit justice or a
circuit or district judge issues a certificate of appealability. See Fed. R. App. P. 22(b)(1); 28 U.S.C.
§ 2253(c)(1).

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